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WESTERN DISTRICT 0F TENNESSEE "M*J “~---~-D-C'

Eastern Division . ‘
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UNITED STATES OF AMERICA ii ,,, ,
leila-ali -:"J€. LS()ULD

-vs- Case No. I:OSc§l%W§Y§M

CHRISTY WlLLlAl\/IS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above~styled case, and is otherwise qualified for appointment of counsel. Aecordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT
' All purposes including trial and appeal
D()NE and ORDERED in ll l South Highland, Jackson, TN, this 22nd day of July, 2005.

<_KWMM

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant F ederal Public Defender

ISTRIC COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10056 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

